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9    UNITED STATES OF AMERICA
10                           UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                No. 2:16-CR-729-JAK
13              Plaintiff,                    GOVERNMENT’S MARCH 19, 2024,
                                              STATUS REPORT
14                    v.
15   ALBERT BENJAMIN PEREZ,
      aka “Dragon,”
16
                Defendant.
17

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19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Derek R. Flores,
22   hereby files this status report regarding the Court’s October 10,
23   2023, order for a neuropsychological evaluation of defendant Albert
24   Benjamin Perez.
25              •      On October 10, 2023, the Court ordered that the Bureau
26                     of Prisons (“BOP”) conduct a neuropsychological
27                     evaluation of defendant as early as practicable.
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1               •     The undersigned counsel for the government has
2                     conferred with BOP counsel and personnel.

3               •     According to BOP:
4                     o     Because Defendant’s current place of

5                           incarceration (the Metropolitan Detention Center

6                           in Los Angeles) does not have staff formally

7                           trained in neuropsychological training, BOP’s

8                           Office of Medical Designations and Transportation

9                           (“OMDT”) was instructed last year to designate
10                          and transfer defendant to an institution that
11                          specializes in such testing.
12                    o     To date, OMDT has not yet designated defendant to
13                          such a facility. There are very few facilities
14                          within BOP that have such staff and those
15                          facilities have a backlog.
16                    o     At this time, BOP is unable to provide an
17                          estimate for how long until OMDT will designate
18                          defendant to a facility, how long until defendant

19                          will be evaluated at that facility, and how long

20                          until the report following that evaluation will

21                          be completed.

22                    o     BOP staff intend to update counsel for the

23                          government when additional information is

24                          received from OMDT.

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1             •   Government counsel previously updated defense counsel
2                 regarding the current status discussed above. The parties

3                 have conferred and anticipate promptly filing a stipulation

4                 to continue the trial date.

5     Dated: March 19, 2024                Respectfully submitted,

6                                          E. MARTIN ESTRADA
                                           United States Attorney
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                                           MACK E. JENKINS
8                                          Assistant United States Attorney
                                           Chief, Criminal Division
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                                           DEREK R. FLORES
11                                         Assistant United States Attorney

12                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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